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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                  )
 ADVANCEMENT PROJECT,                             )
                                                  )
               Plaintiff,                         )
                                                  )
        v.                                        )      Civil Action No. 19cv0052 (RC)
                                                  )
 U.S. DEPARTMENT OF HOMELAND                      )
 SECURITY, et al.,                                )
                                                  )
               Defendants.                        )
                                                  )

                       NOTICE OF SUBSTITUTION OF COUNSEL

       The Clerk of the Court will please enter the appearance of Assistant United States Attorney

Darrell C. Valdez as counsel of record for Defendant in the above-captioned case and withdraw

the appearance of Assistant United States Attorney Johnny Hillary Walker, III, who has left the

employment of the United States Attorney’s Office for the District of Columbia.


November 23, 2021                           Respectfully submitted,


                                            /s/ Darrell C. Valdez
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